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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

BADGER MIDSTREAM                                          §
ENERGY, L.P.,                                             §
                                                          §
         Plaintiff,                                       §
                                                          §
vs.                                                       §             Civil Action No.: _______________
                                                          §             Jury Demanded
AIR PRODUCTS AND                                          §
CHEMICALS, INC.                                           §
                                                          §
         Defendant.                                       §

      AIR PRODUCTS AND CHEMICALS, INC.’S NOTICE OF REMOVAL

         Air Products and Chemicals, Inc. (hereinafter “Air Products”), removes the above-

captioned case, in accordance with 28 U.S.C. §§ 1332, 1441, and 1446, from the 127th District

Court for Harris County, Texas, to the United States District Court for the Southern District of

Texas, Houston Division, and would respectfully show this Court as follows:

                                                    I.
                                               INTRODUCTION

         1.       Federal jurisdiction exists over this lawsuit because it involves parties with diverse

citizenship and the amount in controversy exceeds $75,000.00.

                                                         II.
                                                B A C K GR O U N D

         2.       This is a contract dispute arising out of an agreement between Air Products and

Badger Midstream Energy, L.P. (as purported successor of Keyes Helium Company, LLC, and

referred to herein collectively as “Badger”),1 concerning the parties’ respective rights and


1
  Air Products specially excepts and objects that Badger is a proper plaintiff in this lawsuit. (See Special Exception
No. 3, Air Products and Chemicals, Inc.’s Special Exceptions, Original Answer, and Counterclaims, at ¶ 7). For the
sake of clarity and expressly without waiving its Special Exceptions, Air Products herein refers to Keyes Helium
Company, LLC, and Badger Midstream Energy, L.P., as “Badger,” collectively.
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limitations under their helium supply agreement, which is memorialized in the Contract for Sale

and Purchase of Liquid Helium between Keyes Helium Company, LLC, and Air Products, as

amended and restated as of January 1, 1999, and as further amended (the “Agreement”).2

Article 6 of the Agreement provides that both parties may request a certain amount of crude

helium be tolled at Badger’s facility, but under different circumstances. Specifically, under the

express terms of Article 6.1, as amended, Badger’s right to request tolling expired at the end of

2012.

         3.       In or around October 2015, Badger asserted that Air Products provided

insufficient amounts of crude helium in 2014 and 2015, and owed Badger payment for these

alleged shortfalls. In July 2016, Badger attempted to terminate the Agreement and filed suit

asserting breach of contract in the 127th District Court of Harris County, Texas, under Cause No.

2016-47310 and styled Badger Midstream Energy, L.P., vs. Air Products and Chemicals, Inc.

However, Badger’s breach of contract claim is unfounded and untenable, and its termination

ineffective, because:

                  (a) Badger’s right to request tolling under Article 6.1 of the Agreement expired in
                      2012;

                  (b) The Agreement does not contemplate payment to Badger in the event Air
                      Products requests tolling under Article 6.2 but Badger is unable to produce up
                      to the specified quantity of liquid helium during the Contract Year; and

                  (c) In 2014 and 2015, Air Products either tendered adequate amounts of crude
                      helium to Badger or else made available but did not tender due to Badger’s
                      inability to toll amounts already tendered for that Contract Year.




2
  Article 16 of the Agreement provides that its interpretation and performance thereunder “shall be governed by the
laws of the State of Colorado, without giving effect to its conflict of law provisions.” Therefore, Air Products cites
to applicable Colorado law herein.

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         4.       On August 2, 2016, Air Products sent correspondence to Badger demanding that

Badger provide adequate assurances of performance by August 12, 2016. To date, Badger has

provided no such assurances to Air Products. T EX . B U S . & C O M . C O D E § 2.609; C O LO .

R EV . S TAT . § 4-2-609.

                                                         III.
                                       DIVERSITY        OF  C I T I Z E N S HI P

         5.       Federal diversity jurisdiction exists in this case because the parties are diverse.3

Air Products was incorporated in Delaware and its principal place of business is in Pennsylvania.

Based on publicly-available information, Badger Midstream Energy, L.P., is a Texas limited

partnership. Badger’s general partner is Hooker Midstream, Energy LLC (“Hooker”), a Texas

limited liability company. Hooker’s initial manager, Joseph W. Sutton, is a Texas resident.

                                                      IV.
                                                   TIMELINESS

         6.       This notice of removal is timely under 28 U.S.C. § 1446(b) because it is filed

within 30 days of July 25, 2016, the date Air Products was served with a summons and a copy of

Badger’s Original Petition.

                                                         V.
                                    T HE   A M OU N T - I N -C O N T R OV E R S Y

         7.       Diversity jurisdiction requires that the actual matter in controversy exceeds the

sum or value of $75,000.00, exclusive of interest and costs, determined as of the time that the

action is commenced. 28 U.S.C. § 1332(a). In cases removed to federal court, the jurisdictional

amount must also be satisfied when the notice of removal is filed. 28 U.S.C. § 1441(a).



3
  This is a civil action brought in a state court of Texas over which the United States District Courts have original
jurisdiction in that there is diversity of citizenship between the parties properly joined. 28 U.S.C. § 1332. Hence, this
action is removable under 28 U.S.C. § 1332.


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       8.      A dispute satisfies this statutory minimum if it is readily apparent on the face of

the pleading that the amount-in-controversy exceeds $75,000.00. See SWS Erectors, Inc. v. Infax,

Inc., 72 F.3d 489, 492 (5th Cir. 1996) (“[W]e begin our review by applying the ‘facially

apparent’ test, which requires us to look only at the face of the complaint and ask whether the

amount in controversy exceeds $ [75],000.”).

       9.      This case exceeds the $75,000.00 statutory minimum. Badger seeks monetary

damages for breach of contract and specifically pleads on the face of its Original Petition that its

damages exceed $1,025,020.00. (Pl.’s Orig. Pet., ¶ 25).

                                                     VI.
                                                   VENUE

       10.     Venue for this removal is proper under 28 U.S.C. § 1441(a) because this Court is

the United States District Court for the district and division corresponding to Harris County, the

place where the state-court action is pending.

                                                  VII.
                                            J U RY D E M A N D

       11.     Air Products requested a trial by jury. (See Air Product’s Special Exceptions,

Orig. Answer, and Counterclaims).


                                                    VIII.
                            P A PE R S   F R OM   T HE R E M OV E D A C T I ON

       12.     Pursuant to Local Rule 81, the following documents are attached to this Notice of

Removal:

               Exhibit 1:       Plaintiff’s Original Petition;

               Exhibit 2:       Certified copies of all executed process, pleadings asserting causes
                                of action and answers to such pleadings, and orders in the removed
                                case;

               Exhibit 3:       A certified copy of the docket sheet;

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               Exhibit 4:     An index of matters being filed;

               Exhibit 5:     A list of all counsel of record, including addresses, telephone
                              numbers and parties represented; and

               Exhibit 6:     Civil Cover Sheet

       13.     Air Products has served all parties with a copy of this Notice of Removal and

forwarded it for filing with the Clerk of the District Court of Harris County, Texas, Cause No.

2016-47310, Badger Midstream Energy, L.P., vs. Air Products and Chemicals, Inc., in the

District Court of Harris County, Texas, 127th District Court in accordance with 28 U.S.C.

§ 1446(d).

                                                IX.
                                          C O N C L U S I ON

       14.     This state-court action may be removed to this Court by Air Products in

accordance with provisions of 28 U.S.C. § 1441(a) because (1) this action is a civil action pending

within the jurisdiction of the United States District Court for the Southern District of Texas,

Houston Division; (2) this action is between citizens of different states; and (3) the amount in

controversy exceeds $75,000, exclusive of interests and costs.




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                                   Respectfully submitted,

                                   JOHNSON, TRENT, WEST & TAYLOR, L.L.P.


                                   By: /s/ T. Christopher Trent
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                                   ATTORNEYS FOR DEFENDANT
                                   AIR PRODUCTS AND CHEMICALS, INC.




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                             CERTIFICATE OF SERVICE

       I certify that on August 19, 2016, I served a copy of Air Products and Chemicals, Inc.’s
Notice of Removal on the following counsel of record by electronic service, and the electronic
transmission was reported as complete. My e-mail address is smccarty@johnsontrent.com.

                                                   /s/ Scott E. McCarty
                                                   Scott E. McCarty

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